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                            UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF CONNECTICUT
                                   HARTFORD DIVISION


 BONNIE C. MANGAN, Chapter 7 Trustee for                 )
 INTEGRITY GRAPHICS, INC.,                               )
                                                         )
         Plaintiff,                                      )      Adv. Pro. No. 19-02027
                                                         )
             v.                                          )
                                                         )
 PEOPLE’S UNITED BANK, N.A.,                             )
 GHP MEDIA INC. AND JOSEPH LAVALLA,                      )
                                                         )
        Defendants.                                      )


                      MOTION FOR EXTENSION OF TIME ON CONSENT

       Bonnie C. Mangan, Chapter 7 Trustee for Integrity Graphics, Inc. (the “Trustee”), with

the consent of the Defendants, People’s United Bank, N.A. and GHP Media Inc., hereby moves

for an additional ninety (90) day extension of the remaining dates set forth in the Court’s Initial

Pretrial Order, including the date by which the Trustee must serve opposing counsel with reports

from her expert witnesses. In support thereof, the undersigned represents as follows:

       1.         On July 19, 2021, this Court entered an Initial Pretrial Order in this adversary

proceeding [Doc. #101].

       2.         The Initial Pretrial Order provided that: “Any party that intends to call an expert

at trial in connection with any claim or defense for which that party has the burden of proof shall

serve opposing counsel with reports from retained experts pursuant to Fed R. Civ. P. 26(a)(2) by

March 1, 2022.”

       3.         On March 4, 2022, the Court approved applications to employee the Trustee’s two

expert witnesses [Doc. # 94 & 95 in Case No. 17-21513].
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        4.      On March 4, 2022, the Court granted the Trustee’s motion for a sixty (60) day

extension of the remaining dates set forth in the Court’s Initial Pretrial Order. [Doc. # 105].

        5.      Although the Trustee’s expert witnesses have been retained, there remains

outstanding interrogatories and requests for production that the Trustee requires before her

experts finish their analysis.

        6.      Counsel of record are working cooperatively to complete this production, but

require additional time to gather the documents and resolve any pending objections.

        7.      The Trustee believes a substantial portion of the outstanding documents and

information will be directly relevant to the analysis being performed by her expert witnesses and

therefore requires the additional time to obtain and review these documents before her expert

wintesses issue their reports.

        8.      People’s United Bank, N.A. and GHP Media Inc., by and through their respective

counsel, have consented to this Motion.

        For the foregoing reasons, the Trustee respectfully requests a ninety (90) day extension of

the remaining dates set forth in the Court’s Initial Pretrial Order, including the date by which the

Trustee must serve opposing counsel with reports from her expert witnesses.

        Dated at Trumbull, Connecticut on this 1st day of May, 2022.

                                                       BONNIE C. MANGAN,
                                                       CHAPTER 7 TRUSTEE OF
                                                       INTEGRITY GRAPHICS, INC.

                                                  By: /s/ David C. Shufrin
                                                      David C. Shufrin, Esq. [ct29230]
                                                      SHUFRIN LAW GROUP
                                                      21 Frelma Drive
                                                      Trumbull, CT 06611
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on the date set forth below a copy of the foregoing was served by

CMECF and/or mail on anyone unable to accept electronic filing. Notice of this filing will be

sent by email to all parties by operation of the Court’s electronic filing system or by mail to

anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties

may access this filing through the Court’s CM/ECF System.

Date: May 1, 2022

                                              ___/s/ David C. Shufrin_________________
                                              David C. Shufrin




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